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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 1:17-cv-60426-UU

  ALEKSEJ GUBAREV, et al.,

         Plaintiffs,

  v.

  BUZZFEED, INC., et al.,

        Defendants.
  ______________________________________________________/

                                              ORDER
         THIS CAUSE is before the Court upon Defendants’ Unopposed Motion for Counsel to

  Appear Telephonically for the Status Conference Set for January 10, 2018 (D.E. 105).

         THE COURT has reviewed the pertinent portions of the record and is otherwise fully

  advised in the premises.

         Defendants request that the Court permit their attorney, Katherine Bolger, to appear

  telephonically for the Status Conference set for January 10, 2018. In support of their motion,

  Defendants state that Ms. Bolger has family obligations in New York that day, but that their

  other attorneys will be present in the courtroom. Because Defendants’ other attorneys will be

  present, the Court will permit Ms. Bolger to appear telephonically. Accordingly, it is hereby

         ORDERED AND ADJUDGED that Defendants’ Unopposed Motion for Counsel to

  Appear Telephonically for the Status Conference Set for January 10, 2018 (D.E. 105) is

  GRANTED.
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         DONE AND ORDERED in Chambers at Miami, Florida, this 9th_ day of January, 2017.



                                                _______________________________
                                                URSULA UNGARO
                                                UNITED STATES DISTRICT JUDGE
  cc:
  counsel of record
